   Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 1 of 20 PAGEID #: 160




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,
                                                          CASE NO. 2:22-CR-178
                Plaintiff,
                                                          JUDGE SARAH D. MORRISON
         v.

 THOMAS M. DEVELIN,                                       Sentencing Memorandum of the
                                                          United States
                Defendant.


        The United States hereby submits its Sentencing Memorandum with respect to Defendant

Thomas M. Develin. The United States has one pending objection. For the reasons that follow, a

sentence of 87 months of imprisonment and 3 years of supervised release would be sufficient but

not greater than necessary to achieve the statutory goals of sentencing. Forfeiture is also required

in this case.

                                         BACKGROUND

        In March 2022, the Columbus Division of Police Counterterrorism Unit began an

investigation based on Discord group chat messages received from the Ohio Army National

Guard and the Ohio Statewide Terrorism and Analysis Center. PSR ¶ 13. Discord is a social

media platform that allows users to communicate by text, talk, and video. Id. In the Discord

group, Defendant Thomas M. Develin expressed extremist views and sent antisemitic,

misogynistic, and racist messages. Id. He also regularly discussed violence, including mass

violence against Jews and Black people, individual violence against people he perceived as

having wronged him, and apparently indiscriminate violence, such as an attack on a Budweiser

brewing facility. Id. Mr. Develin also discussed illegal firearms activity, and his messages

connected his illegal firearms activity with his desire for violence. Id.
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 2 of 20 PAGEID #: 161




       Based in part on these messages, Columbus police obtained and executed a search

warrant on Mr. Develin’s residence on March 31, 2022. PSR ¶ 14. During the search, officers

seized firearms, explosives, a ghost gun printer, ammunition, and more. PSR ¶ 15. A search of

his vehicle found law-enforcement ballistic plates, night-vision goggles, a ballistic helmet, and a

large quantity of ammunition. Id. Mr. Develin was arrested and interviewed. PSR ¶¶ 14, 16.

After being charged with state crimes, he was released on bond. See PSR ¶ 14. Agents later

searched a property in Chesterhill, Ohio, where they found more firearms, firearms parts, and

other related property. PSR ¶ 16. Mr. Develin’s state charges remain unresolved.

       On June 29, 2022, Mr. Develin was arrested after having been charged by federal

Criminal Complaint with one count of Engaging in the Business Without a License (Firearms),

in violation of 18 U.S.C. § 922(a)(1)(A); one count of Illegal Possession of a Machine Gun, in

violation of 18 U.S.C. § 922(o); one count of Failure to Register as a Dealer, Manufacturer, or

Importer, or to Pay Required Tax, in violation of 26 U.S.C. § 5861(a); one count of Receipt or

Possession of Firearm Made in Violation of the NFA, in violation of 26 U.S.C. § 5861(c); and

one count of Making a Firearm in Violation of the NFA, in violation of 26 U.S.C. § 5861(f).

(Complaint, R.1.) He was ordered detained pending trial. (Order, R.14.)

       On September 22, 2020, following plea negotiations, the United States Attorney filed a

Bill of Information charging Mr. Develin with one count of Making Firearms in Violation of the

National Firearms Act, in violation of 26 U.S.C. §§ 5861(f) and 5871; one count of Unlawfully

Engaging in the Business of Manufacturing and Dealing Machineguns, in violation of 26 U.S.C.

§§ 5861(a) and 5871; and one count of Manufacturing and Dealing Firearms Without a License,

in violation of 18 U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D). (Information, R.20 at 74–75.) The

Bill of Information also contained forfeiture allegations. (Id. at 76–77.) On the same day, the

                                                 2
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 3 of 20 PAGEID #: 162




Parties filed a Plea Agreement, wherein Mr. Develin agreed to plead guilty to all counts of the

Information, and to forfeit the firearms and ammunition involved in his offenses. (Plea

Agreement, R.21 at 78, 81–82.) The Plea Agreement also contained multiple stipulations

regarding the applicable sentencing guidelines. (Id. at 80–81.) Among other stipulations, Mr.

Develin agreed that his offense level should be increased by six levels because the offense

involved 25–99 illegal firearms, and that his offense level should be increased by four levels

because he engaged in the trafficking of firearms. (Id. at 81.) On October 20, 2022, Mr. Develin

waived his right to an indictment and pleaded guilty. The Court accepted his guilty pleas and

adjudged him guilty.

       The Final Presentence Investigation Report was issued on January 9, 2023. (See PSR,

R.29.) Sentencing in this matter is scheduled for February 28, 2023.

                                          ARGUMENT

       The Probation Officer calculated that Mr. Develin’s Total Offense Level is 21 and that

his Criminal History Category is I. PSR ¶¶ 43, 58. The Probation Officer accurately noted that

these calculations, if correct, would result in advisory guidelines ranges of 37 to 46 months of

imprisonment; a fine of $15,000 to $150,000; and supervised release of 1 to 3 years. PSR ¶¶ 90,

95, 102.

       The United States has one unresolved objection. The United States will first address its

objection, and then turn to the statutory sentencing factors under 18 U.S.C. § 3553(a).




                                                 3
     Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 4 of 20 PAGEID #: 163




I.      Because Mr. Develin transferred firearms to people he had reason to believe
        intended to use or dispose of the firearms unlawfully, the Court should apply the
        enhancement for a defendant who “engaged in the trafficking of firearms.”

        The Probation Officer erred by not applying the agreed-upon four-level enhancement that

applies to defendants who “engaged in the trafficking of firearms.” U.S.S.G. § 2K2.1(b)(5); see

PSR ¶¶ 31–33. If this objection were sustained, Mr. Develin’s offense level would be 25 and his

guidelines imprisonment range would be 57–71 months.

        Section 2K2.1(b)(5) of the U.S. Sentencing Guidelines provides for a four-level

enhancement if “the defendant engaged in the trafficking of firearms.” As relevant here, an

Application Note clarifies that this enhancement applies if a defendant “disposed of two or more

firearms to another individual,” and “knew or had reason to believe that such conduct would

result in the transport, transfer, or disposal of a firearm to an individual . . . who intended to use

or dispose of the firearm unlawfully.” U.S.S.G. § 2K2.1 app. n. 13(A).

        Mr. Develin agreed in the Plea Agreement that the trafficking enhancement should apply

to him. (See Plea Agreement, R.21 at 81 (agreeing that “[p]ursuant to U.S.S.G. § 2K2.1(b)(5),

the offense level should be increased by 4 levels because the Defendant engaged in the

trafficking of firearms”).) He should be held to his end of the bargain.

        Mr. Develin agreed to the trafficking enhancement for good reason: The enhancement

should apply because he had reason to believe he was selling firearms to individuals who

intended to use or dispose of them unlawfully. Certain firearms are unlawful for any person to

possess or use in all or nearly all circumstances. See, e.g., 26 U.S.C. § 5861(d) (criminalizing the

possession of unregistered machineguns, including fully automatic firearms, conversion devices,

short-barreled rifles, and more); 18 U.S.C. § 922(o) (same); 18 U.S.C. § 922(p) (firearms not

detectable by a metal detector); 18 U.S.C. § 922(k) (firearms with obliterated serial number).

                                                   4
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 5 of 20 PAGEID #: 164




Accordingly, when a defendant disposes of such a firearm to anyone, he necessarily disposes of

the firearm to an individual who intends to use or dispose of it unlawfully within the meaning of

Application Note 13.

       Case law supports this conclusion. The First Circuit has affirmed the application of the

trafficking enhancement where a defendant sold a sawed-off shotgun to a cooperating witness.

United States v. Taylor, 845 F.3d 458, 461 (1st Cir. 2017). In part because such a firearm is

“illegal to possess in all but the most unusual circumstances,” the court of appeals concluded that

the defendant had reason to believe the cooperating witness would use or dispose of the firearm

illegally. Id. Using the same logic, the Eighth Circuit has affirmed the application of the

trafficking enhancement where the defendant sold an unregistered automatic firearm and an

unregistered hand grenade to a confidential source working with the government. United States

v. Lomax, 910 F.3d 1068, 1070 (8th Cir. 2018). The fact that possession of the weapons was

“necessarily unlawful” supported the application of the trafficking enhancement. Id.; see also

United States v. Pepper, 747 F.3d 520, 525 (8th Cir. 2014) (applying the trafficking

enhancement in a case involving the transfer of a unregistered machinegun).

       Courts have also considered whether the firearm has a serial number as a factor in

applying the trafficking enhancement. Guns without serial numbers are associated with crime

because they “cannot be traced by law enforcement.” United States v. Ortiz, 64 F.3d 18, 22 (1st

Cir. 1995). Accordingly, several cases—including an unpublished Sixth Circuit case—have

applied the trafficking enhancement where the defendant sold firearms with obliterated serial

numbers. See, e.g., Taylor, 845 F.3d at 460 (holding that “removal of a serial number is

indicative of anticipation that the gun will be used in criminal activity, and thus that Taylor knew

or should have known that [the buyer] intended to use or dispose of the firearm unlawfully”

                                                 5
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 6 of 20 PAGEID #: 165




(quotation marks omitted)); United States v. Jenkins, 528 F. App’x 483, 486 (6th Cir. 2013)

(concluding that the fact that the defendant sold a firearm that “had no serial number” supported

the inference that the defendant knew or had reason to believe that the firearm would be used or

disposed of unlawfully).

       The same logic applies to firearms that never had serial numbers. Guns that were

unlawfully made without serial numbers offer the same benefit to criminals as those with

obliterated numbers—namely, they are untraceable. In a case from last month, the First Circuit

recognized as much when it affirmed the application of the trafficking enhancement in part

because the defendant sold two ghost guns that never had serial numbers. United States v.

Bischoff, 58 F.4th 18, 24 (1st Cir. 2023). Notably, this case came out after the Final PSR in this

case was released, and therefore the Probation Officer did not have the benefit of Bischoff in her

consideration of the trafficking enhancement.

       A recent proposed amendment by the U.S. Sentencing Commission supports the

conclusion that ghost guns that never had serial numbers should be treated the same as guns with

obliterated serial numbers. The guidelines currently contain an enhancement if any firearm in the

offense “had an altered or obliterated serial number.” U.S.S.G. § 2K2.1(b)(4)(B). That

enhancement currently does not apply to guns that never had serial numbers. Earlier this month,

the Sentencing Commission proposed a revision of Section 2K2.1(b)(4)(B) that would treat guns

that never had serial numbers the same as guns with obliterated serial numbers. See Notice of

Proposed Amendments to the Sentencing Guidelines, 88 Fed. Reg. 7180, 7197 (Feb. 2, 2023).

The proposed amendment was in response to comments “that the very purpose of ‘ghost guns’ is

to avoid the tracking and tracing systems associated with a firearm’s serial number and that they



                                                 6
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 7 of 20 PAGEID #: 166




increasingly are associated with violent crime.” Id. Selling ghost guns that never had serial

numbers is probative that the buyer intended to use or dispose of the guns unlawfully.

       Applying these principles here, the four-level trafficking enhancement should apply to

Mr. Develin because he sold firearms that were unlawful for anyone to possess or use. In his

Statement of Facts, Mr. Develin admitted that he had made and sold “untraceable 3D-printed

firearms,” which are “illegal firearms.” (Plea Agreement, R.21 at 86.) He also admitted that he

had “manufactured and sold six ‘lowers’ that he knew were illegal to an unknown individual.”

(Id.) He also made and advertised for sale illegal conversion devices. PSR ¶ 17. Because these

firearms were illegal in all circumstances, he had reason to believe that he was selling them to

individuals “who intended to use or dispose of the firearm[s] unlawfully.”

       Mr. Develin also had reason to believe his buyers intended to use or dispose of the

firearms unlawfully because he sold firearms, lower receivers, and conversion devices that

lacked serial numbers. (See PSR ¶ 16; Complaint, R.1-1 at 47–48.) Accordingly, they were

untraceable by law enforcement. (See Plea Agreement, R.21 at 86 (Mr. Develin made

“untraceable 3D-printed firearms”).) This is another indication that Mr. Develin had reason to

believe he was selling firearms to people who intended to use them unlawfully.

       Moreover, Mr. Develin’s own words support the enhancement. He sent a message to

another person asking if he wanted to join a Discord group about 3D printing. (Complaint, R.1-1

at 35.) The person demurred, saying he was worried that the ATF would “raid” the Discord

group. (Id.) Mr. Develin replied, “Just be me and sell machine guns to felons and gangbangers.”

(Id.) This, too, shows he had reason to believe the people buying his untraceable firearms

intended to use them unlawfully.



                                                 7
      Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 8 of 20 PAGEID #: 167




         For these reasons, Mr. Develin was right to agree in the Plea Agreement that the

trafficking enhancement applies. The Court should apply the four-level enhancement and

calculate that the guidelines range is 57–71 months of imprisonment.

II.      Based on the statutory sentencing factors, the United States recommends a term of
         imprisonment of 87 months.

         Turning to the § 3553(a) factors, the United States recommends an above-guidelines

sentence of 87 months in prison and a 3-year term of supervised release.

         Nature and circumstances of the offenses. Mr. Develin committed several serious

firearms crimes. He manufactured, possessed, and sold untraceable 3D-printed firearms and

illegal lower receivers. PSR ¶ 19. He also manufactured an illegal short-barreled rifle. Id. And he

manufactured, possessed, and advertised for sale more than 50 devices designed to convert

semiautomatic firearms into fully automatic machineguns. Id. After he had done all that, Mr.

Develin obstructed justice by destroying and hiding evidence of his criminal acts. PSR ¶¶ 36–37.

         Starting with the ghost guns: From 2020 until his March 2022 arrest, Mr. Develin made

untraceable 3D-printed firearms, commonly known as “ghost guns.” PSR ¶ 16. He bought a 3D

printer and made the ghost guns for profit. Id. He was not a licensed manufacturer or dealer of

firearms, so this was against the law. See 18 U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D). This was

not a mere technical violation. Federal law regulates the manufacture and sale of firearms in

ways that promote public safety. For example, licensed manufacturers and dealers are required to

conduct criminal background checks before selling firearms. See 18 U.S.C. § 922(t).

Manufacturers are also required to mark each firearm they produce with a unique serial number,

to promote “tracking of inventory and record-keeping by licensees; tracing specific firearms used

in crimes; identifying firearms that have been lost or stolen; and assisting in the prosecution of


                                                 8
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 9 of 20 PAGEID #: 168




firearm offenses.” United States v. Harris, 720 F.3d 499, 502–03 (4th Cir. 2013). Mr. Develin

followed none of these important safeguards when he made and sold firearms.

       Mr. Develin also made a short-barreled rifle and manufactured and sold at least six illegal

lower receivers for AR-type rifles. PSR ¶ 19. A receiver is the part of a firearm that brings

together the firearm’s other components—it “provides housing for the hammer, bolt or

breechblock, and firing mechanism, and which is usually threaded at its forward portion to

receive the barrel.” (Complaint, R.1-1 at 26.) Federal law requires manufacturers to engrave or

cast the serial number on the firearm’s receiver. 18 U.S.C. § 923(i). Any rifles that used Mr.

Develin’s 3D-printed lower receivers would therefore not bear serial numbers. See PSR ¶ 16.

Making matters more concerning, he sold six of these illegal lower receivers to an unknown

individual. (PSR ¶ 17; Plea Agreement, R.21 at 86.)

       Mr. Develin’s production of a short-barreled rifle likewise presents safety concerns. The

National Firearms Act, or NFA, criminalizes the manufacture, possession, and sale of

particularly dangerous weapons in almost all circumstances. See 26 U.S.C. § 5861; 26 U.S.C.

§ 5845(a). Among these are short-barreled rifles. Id.; PSR ¶ 17. Mr. Develin knew this, as

evidenced by the fact that he posted a photograph of the short-barreled rifle he had made along

with the message, “Uh oh I accidentally made an NFA item.” (Complaint, R.1-1 at 29.)

       Perhaps most dangerously, Mr. Develin made and advertised for sale more than 50

devices designed to convert semiautomatic firearms into fully automatic machineguns. Whereas

semiautomatic firearms shoot one round per pull of a trigger, machineguns automatically shoot

“more than one shot, without manual reloading, by a single function of the trigger.” 26 U.S.C.

§ 5845(b). Because of the risks presented by continuous fire, the NFA tightly regulates

machineguns, and it is unusual for a person without a federal firearms license to lawfully possess

                                                 9
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 10 of 20 PAGEID #: 169




them. See 26 U.S.C. § 5861; 26 U.S.C. § 5845(a), (b). Federal law applies the same restrictions

to parts designed to convert a weapon into a machinegun. 26 U.S.C. § 5845(b). These conversion

devices are legally defined as machineguns themselves, id., and legal possession is unusual.

       The widespread availability of 3D printing has made the manufacture of illegal

conversion devices simple and inexpensive. The results can be devastating. Conversion makes

weapons more dangerous in multiple ways. Most plainly, it allows a person to fire more rounds

per second. It also can make the firearm harder to control. The additional recoil can make it

harder to aim the weapon effectively. This is especially true of the Glock switch that Mr. Develin

possessed. See PSR ¶ 18. A Glock switch is an illegal conversion device that turns a handgun

into a fully automatic pistol, id., and the increased kick on a smaller firearm can be more

disruptive to the shooter.

       In addition to the Glock switch, Mr. Develin possessed a “coat hanger” device, auto

sears, and a bump stock. The coat hanger device and the auto sears are similar; they convert

semiautomatic AR-type rifles into fully automatic rifles. PSR ¶ 18. A bump stock has a similar

effect but a different operation. It “replaces the standard stock on a rifle and allows a shooter to

fire a semiautomatic rifle at rates similar to automatic rifles.” PSR ¶ 16. Mr. Develin produced at

least 50 conversion devices. PSR ¶ 19. He advertised the auto sears for sale. PSR ¶ 17. These

devices present serious public safety risks, given that they are untraceable devices that convert

AR-type rifles into fully automatic firearms.

       Shortly before his arrest, Mr. Develin also hid and destroyed evidence. He told agents

that on March 28, 2022, he went to the Chesterhill property and hid multiple ghost guns, a bump

stock, an unfinished firearm frame, and a Military Improvised Explosive Device instruction

manual. PSR ¶ 16. He also went to the property the following day and burned additional

                                                 10
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 11 of 20 PAGEID #: 170




evidence in a firepit. Id. When ATF agents later searched there, they located firearms, firearm

parts, and two IED manuals, but they did not locate a bump stock. Id.

       Mr. Develin also communicated with another individual to destroy evidence. He

communicated with the other person on Telegram, an encrypted communication platform that

proudly advertises that it has never provided user data to law enforcement. See Telegram Privacy

Policy at https://telegram.org/privacy (last accessed Feb. 20, 2023). Mr. Develin told the other

person that all the incriminating evidence “is being buried or burned today,” and when the other

person told him to burn a specific file, Mr. Develin confirmed, “Yep being burned.” (Complaint,

R.1-1 at 39.) Mr. Develin also said he would be “speaking with an attorney, then going out of

town to get rid of this stuff.” (Id. at 40.) The other individual replied, “Do it now and do it

discreetly. Leave no trace anywhere. Burn the shit and take the ashes somewhere else.” (Id.)

       Although much of the attention in this case has focused on Mr. Develin’s extremist

ideology, his firearms crimes are serious on their own. Mr. Develin produced untraceable

firearms, lower receivers, and conversion devices and sold them to others, including people he

did not know. As he well knew, the conversion devices made already dangerous weapons (AR-

type rifles) into even more dangerous ones (illegal machineguns). When he thought law

enforcement may be coming, he destroyed evidence in an attempt to obstruct justice. His serious

offenses warrant a lengthy sentence.

       The sentencing range established by the Sentencing Commission. Notably, the guidelines

range does not account for the full amount of firearms Mr. Develin possessed, because of what

one judge has deemed “a void” in the sentencing guidelines. United States v. Hixson,

__ F. Supp. 3d __, No. 21-CR-050016, 2022 WL 3908595, at *1 (N.D. Ill. Aug. 30, 2022). The

Sentencing Guidelines provide that a defendant’s offense level should be increased based on the

                                                  11
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 12 of 20 PAGEID #: 171




number of firearms involved in the crime. See U.S.S.G. § 2K2.1(b)(1). A six-level increase

applies if the offense involved 25–99 firearms. U.S.S.G. § 2K2.1(b)(1)(C).

       The Parties agreed that Mr. Develin’s offense level should be increased by six levels

“because the offense involved 25–99 illegal firearms.” (Plea Agreement, R.21 at 81 (citing

U.S.S.G. § 2K2.1(b)(1)(C)).) Mr. Develin possessed more than 50 devices intended to convert

semiautomatic firearms into fully automatic firearms. The definition of “firearm” in 26 U.S.C.

§ 5845(a) includes “a machinegun.” And 26 U.S.C. § 5845(b) defines “machinegun” to include

“any part designed and intended solely and exclusively . . . for use in converting a weapon into a

machinegun,” such as a Glock switch, a coat hanger device, or an auto sear.

       Yet the sentencing guidelines contain an apparently unintended loophole. A narrow

subset of “firearms” under 26 U.S.C. § 5845(a) are not considered “firearms” under U.S.S.G.

§ 2K2.1. Application Note 1 to that guideline provides that “‘[f]irearm’ has the meaning given

that term in 18 U.S.C. § 921(a)(3).” That statute, in turn, defines “firearm” to mean “(A) any

weapon . . . which will or is designed to or may readily be converted to expel a projectile by the

action of an explosive; (B) the frame or receiver of any such weapon; (C) any firearm muffler or

firearm silencer; or (D) any destructive device.” Although this definition would include many

items defined as a “firearm” under 26 U.S.C. § 5845(a)—such as short-barreled rifles and fully

automatic firearms—it does not include auto sears or other devices that convert semiautomatic

firearms into fully automatic firearms. In short, a conversion device is a “firearm” under the

definition in § 5845(a), but not under the definition in § 921(a)(3), and therefore not under the

definition in the sentencing guideline. Earlier this month, the Sentencing Commission publicly

sought comment on whether the guideline should be amended to include conversion devices



                                                 12
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 13 of 20 PAGEID #: 172




within the guideline’s definition of “firearm.” See Notice of Proposed Amendments to the

Sentencing Guidelines, 88 Fed. Reg. at 7198.

       If Mr. Develin’s conversion devices qualified as firearms under the guideline, he would

receive a six-level increase for an offense involving 25–99 firearms, rather than the current four-

level increase for 8–24 firearms. See PSR ¶ 30; U.S.S.G. § 2K2.1(b)(1)(C). In that circumstance

(and if the objection were sustained), his offense level would be 27 and his guidelines

imprisonment range would be 70–87 months. This is the range the Parties expected when they

executed the Plea Agreement. (See Plea Agreement, R.21 at 80–81.)

       Because this void in the firearms guideline results in a guidelines range that fails to

reflect seriousness of Mr. Develin’s offenses, the United States recommends that the Court

impose an above-guidelines sentence. The United States has found only one case that has

addressed how to account for the fact that the guidelines’ definition of “firearm” does not include

conversion devices, and in that case, the judge imposed an above-guidelines sentence for this

reason. In United States v. Hixson, the defendant possessed and sold at least 9 Glock switches.

2022 WL 3908595, at *2. In calculating the guidelines range, the district judge identified that

Glock switches were not “firearms” under U.S.S.G. § 2K2.1, and applied no enhancement for the

number of firearms. Id. at *5. The guidelines range was 30–37 months. Id.

       The judge in Hixson applied an upward variance, however, in recognition that the

guidelines range “woefully underrepresent[ed] the seriousness of the offenses” because it

“completely ignore[d] the Glock switches.” Id. at *8. The court rejected the idea of “[s]entencing

Mr. Hixson within the sentencing range” because doing so would “not account for the

possession, sale, and distribution of the Glock switches.” Id. Instead, the court imposed a 66-

month sentence—three years above the bottom of the guidelines range. Id.

                                                13
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 14 of 20 PAGEID #: 173




        An upward variance is appropriate here for the same reasons. One of the most concerning

aspects of Mr. Develin’s criminal conduct was his manufacture of conversion devices. Yet the

guidelines range does not account in any way for these items. See PSR ¶¶ 29–30. The Probation

Officer has identified this flaw as a reason to consider an upward departure. See PSR ¶¶ 108–09.

In order to account for the full seriousness of the offenses, an upward variance is warranted.

        Need to protect the public from further crimes of the defendant. An upward variance is

also appropriate because the guidelines range does not account in any way for Mr. Develin’s

danger to the community as reflected in his support for mass violence and his virulent

antisemitism, misogyny, and racism—all of which make his illegal firearm possession more

perilous. See PSR ¶ 110 (identifying this as a reason to consider an upward departure).

        Mr. Develin repeatedly expressed his hate for Jews, women, and Black people in

messages and social media posts. He denied the Holocaust and showed a desire to be involved in

mass shootings at synagogues and Jewish schools. (PSR ¶¶ 45–46; Complaint, R.1-1 at 4–8.) He

claimed he would “hunt” Black people (using a slur) and posted other messages advocating

racism. (Complaint, R.1-1 at 8–9.) He championed rape, opined that rape is preferable to

consensual sex, and claimed he had “become so radicalized against women that I’ve forgotten

how to act rationally around them when one of them decides it’s a good idea to speak to me.”

(Id. at 9–11.)

        No one can predict with certainty when a person motivated by violent extremist

ideologies will become a mass shooter, but there are indicators that Mr. Develin was doing more

than fantasizing about mass violence. On several occasions, Mr. Develin combined antisemitic

statements with acts evidencing a desire to engage in a hate-motivated mass shooting. He worked

as a security officer for a private security company and was assigned to protect synagogues and

                                                14
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 15 of 20 PAGEID #: 174




Jewish schools. PSR ¶ 44. On September 27, 2021, he posted a photograph of a synagogue that

he was supposed to be protecting as a security guard and said he was “[h]aving an inner debate

that if an active shooter comes in I might just join him.” (Id. at 4.) On November 21, 2021, he

posted a video titled “Jewish women” where he held a firearm and pointed it at people. (Id. at 6–

7.) Two months later, he posted a photograph of the interior of a synagogue he was assigned to

protect along with the text, “The holocaust didn’t happen,” and “If anything I’ll scream 6 million

wasn’t enough,” referring to the approximate number of Jews who were murdered in the

Holocaust. (Id. at 4–5.) About a month after that, on March 11, 2022, Mr. Develin posted that he

was at a Jewish school and said, “I will shoot the next parent dropping their kid off at the

school.” (Id. at 5.) In case his audience thought he might not be serious, he wrote, “Really need

to get on their radar at the ATF that we aren’t fucking around.” (Id.) He was working at a Jewish

school in Columbus at the time, and he posted a photograph of a Glock handgun on his lap. (Id.

at 5, 8.)

        Mr. Develin’s real-world acts included behavior meant to copycat or pay homage to past

terrorists. On December 21, 2021, he said it was “time to turn wright pat airbase into Fort hood

in 2009.” PSR ¶ 48. This was a reference to the attack by an Army psychiatrist who killed 13

people and wounded 30 more at Fort Hood, the worst mass shooting at a U.S. military base. Id.

Mr. Develin apparently believed the same should happen at nearby Wright-Patterson Air Force

Base. Id.

        Mr. Develin had a particular obsession with the mosque shootings in Christchurch, New

Zealand. In 2019, a man conducted two consecutive mass shootings at mosques in Christchurch,

killing 51 people and injuring 40 more. The shooter wrote phrases on his firearms and magazines

that reflected extreme right-wing, Islamophobic, xenophobic, and white supremacist ideology.

                                                 15
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 16 of 20 PAGEID #: 175




(Complaint, R.1-1 at 13.) This became widely known in part because he live-streamed much of

the mass shooting online. Mr. Develin repeatedly searched for the Christchurch attacks on his

devices, including 87 times on his laptop. (Complaint, R.1-1 at 13.) He then modified the

magazine of an AR-type rifle to have the same words and phrases as the Christchurch shooter.

(Id.) He made a video titled “Time to go to New Zealand,” that showed off the hateful messages

on his modified magazine. (Id. at 14–15.) His repetitive searches and copycat behavior show that

he affiliated himself with people who committed mass violence in the name of hate ideology, and

he crossed the barrier from mere online posting to real-world acts.

       Mr. Develin not only saw violence as the means to achieve his extremist views; he also

saw it as the answer to his petty, everyday annoyances. When he was frustrated that the Morgan

County Sheriff’s Office had not yet returned firearms it had seized from him, he did not just

complain about it. (Complaint, R.1-1 at 18.) He did not limit himself to talk about wanting to

“firebomb” the office and make a sheriff’s deputy’s family “look like what happened to the

[R]hodens in my county,” referring to the 2016 mass murder of the Rhoden family. (Id. at 18–

20.) He went further. He sought out the deputy’s home address in the White Pages, located and

posted an aerial photograph of the deputy’s home, calculated that the deputy’s “closest neighbor

is a quarter mile away,” and identified an “elevated shooting position” that was “across the street

of his home” from which he wanted to “snipe the family through the large living room window.”

(Id. at 21.) Similarly, on another occasion he discussed attacking the Budweiser brewing facility

in Columbus and posted photographs of the facility. (Id. at 12.)

       When a woman honked her car horn at Mr. Develin when he was swerving on the road,

he showed her the gun in his hand, and then took and posted a video where he appeared to be

pointing a gun at a law enforcement vehicle. (Id. at 17–18.) He also posted multiple photos and

                                                16
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 17 of 20 PAGEID #: 176




videos where he trained a rifle on unsuspecting people walking by his home. (Id. at 16–17.) No

matter the stimulus, it seems, his thoughts turned to violence.

       The items law enforcement found in searches escalate the reason for concern. Agents

found 17 firearms, more than 1,000 rounds of live ammunition, explosive components,

Tannerite-brand explosive targets, ballistic plates, night-vision goggles, a ballistic helmet, a 3D

printer, and IED manuals. PSR ¶¶ 15–16. Put together, and in the context of a man who models

his behavior after a notorious white supremacist mass shooter, Mr. Develin’s possession of these

items presents added danger. An above-guidelines sentence is necessary to protect the public.

       Need to afford adequate deterrence and to promote respect for the law. Mr. Develin

knew what he was doing was against the law, but was undeterred. He made and sold lower

receivers he knew were illegal. PSR ¶ 16. He knew that the conversion devices and the short-

barreled rifle he made were illegal. PSR ¶ 17. Despite his implausible statement to the Probation

Officer that he “did not understand the seriousness of manufacturing illegal firearms and

devices,” PSR ¶ 22, Mr. Develin repeatedly posted messages showing his in-depth knowledge of

firearms and firearm regulations. (Complaint, R.1-1 at 22, 29–38.) His destruction and

concealment of evidence also show he knew the seriousness of his criminal acts. PSR ¶¶ 21, 36–

37. The recommended sentence will afford specific deterrence to Mr. Develin and should help

efforts to deter other individuals considering similar firearms crimes.

       History and characteristics of the defendant. Mr. Develin’s history and characteristics are

not mitigating and, if anything, they aggravate his culpability. He has known advantages shared

by few defendants in this Court. He comes from an intact family with parents who enjoyed

professional success. PSR ¶ 61. He is close with his family, and he told the Probation Officer

that his parents provided “love, care, support, and structure.” PSR ¶ 63. He had a childhood with

                                                 17
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 18 of 20 PAGEID #: 177




Boy Scouts, church, and sports, and without abuse, neglect, or substance abuse. Id. Although the

PSR identifies the October 2021 suicide of a friend as an incident that caused his mental health

to suffer, before that incident Mr. Develin was already manufacturing illegal firearms and

envisioning joining forces with an active shooter at a synagogue. See PSR ¶¶ 16, 45.

       In sentencing Mr. Develin, the Court should also take into account that he had two

positions of trust and authority during the time of his criminal activity. He was a member of the

Ohio Army National Guard and was also employed full-time as a security officer with a private

security company. PSR ¶¶ 77–78, 82–85. He was assigned to protect synagogues and Jewish

schools. PSR ¶ 44. Repeatedly and over the course of several months, Mr. Develin’s acts

demonstrated his presence at those locations introduced more danger than protection. (See

Complaint, R.1-1 at 4–8.) The roles he held aggravate his culpability.

       At bottom, Mr. Develin committed serious firearms crimes the dangerousness of which is

not fully captured by the guidelines range. His illegal firearms activity presented greater risks in

light of his extremist ideologies and willingness to take real-world steps toward violence. Given

the nature and circumstances of Mr. Develin’s offenses, the need to protect the public from

further crimes of the defendant, the need for deterrence, and the other facts and circumstances of

this case, an 87-month sentence would satisfy 18 U.S.C. § 3553(a).




                                                 18
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 19 of 20 PAGEID #: 178




                                         CONCLUSION

       For the above reasons, a sentence of 87 months of imprisonment and 3 years of

supervised release would be sufficient but not greater than necessary to achieve the statutory

goals of sentencing. Forfeiture is also required.

                                              Respectfully submitted,

                                              KENNETH L. PARKER
                                              United States Attorney


                                              s/ Peter K. Glenn-Applegate
                                              PETER K. GLENN-APPLEGATE (0088708)
                                              JESSICA W. KNIGHT (0086615)
                                              Assistant United States Attorneys
                                              303 Marconi Boulevard, Suite 200
                                              Columbus, OH 43215
                                              Phone No.: (614) 469-5715
                                              Fax No.: (614) 469-5653
                                              Email: peter.glenn-applegate@usdoj.gov
                                                      jessica.knight@usdoj.gov




                                                    19
  Case: 2:22-cr-00178-SDM Doc #: 31 Filed: 02/21/23 Page: 20 of 20 PAGEID #: 179




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Sentencing Memorandum of the United

States was served this 21st day of February, 2023, electronically upon counsel for the Defendant.

                                                s/Peter K. Glenn-Applegate
                                                PETER K. GLENN-APPLEGATE (0088708)
                                                Assistant United States Attorney
